Case 2:03-CV-O2016-BBD Document 28 Filed 05/18/05 Page 1 of 2 Page|D 32

UNITED STA TES DIS TRICT COURT
WESTERN DISTRICT OF TENNESSEE55

 

 

WESTERN DIVISION
cLARK D. KING JUDGMENT :cN A cIvIL cAsE
v.
TJ:ME wARNER com~IUNIcATIONS,~ cASE No= 03-2016-D

UNI`V'ERSAL COLLECTION SYSTEMS;
NICHOLSON, H.ACKEL, & NICHOLSON
LAW FIRM; and DOUGLAS NICI'IOLSON

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Plaintiff's Motion For Entry Of Judgment entered on May 4,
2005, Judgment is entered in favor of the Plaintiff against all
Defendants for $18,000.00, plus all cost accrued, this cause is
hereby dismissed.

APPROVED :

     
 

 

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ITED STATES DISTRICT COURT
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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:03-CV-02016 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

William T. Winchester

THE LAW OFFICES OF WILLIAM T. WINCHESTER
2600 Poplar Ave.

Ste. 507

1\/1emphis7 TN 38112

Keith Wier

DAW & RAY, PC
5718 Westheimer
Ste. 1750

Houston, TX 77057

B. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Steven M. Markowitz

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Mark L. Lester
DAW & RAY, PC
5718 Westheimer
Ste. 1750

Houston, TX 77057

J ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

